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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   WENDELL TATSUMI KOGA,                    CIVIL NO. CV11-00123 DKW/BMK
   individually, as attorney in fact for
   Ichiyo Eko Koga, and as trustee of the   DEFAULT JUDGMENT AS TO
   William Tsugio Koga and Ichiyo Eko       THIRD-PARTY DEFENDANTS
   Koga Revocable Living Trust, dated       WILLIAM J. VROOM, ALII
   February 4, 1991,                        FINANCIAL CORPORATION,
                                            PRIORITY ONE DEBT RELIEF
                         Plaintiff,         SERVICES, LLC, AND JANICE
           vs.                              M.K. GANITANO

   EASTERN SAVINGS BANK, FSB,

                       Defendant.


   EASTERN SAVINGS BANK, FSB,

                        Third-Party
                        Plaintiff.
                 vs.

    WILLIAM J. VROOM, ALII
    FINANCIAL CORPORATION;
    PRIORITY ONE DEBT RELIEF
    SERVICES, LLC; JANICE M.K.
    GANITANO; and SONIA EVANS

                         Third-Party
                         Defendants.


   DEFAULT JUDGMENT AS TO THIRD-PARTY DEFENDANTS WILLIAM J.
   VROOM, ALII FINANCIAL CORPORATION, PRIORITY ONE DEBT RELIEF
             SERVICES, LLC, AND JANICE M.K. GANITANO
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          Based upon Defendant and Third-Party Plaintiff Eastern Savings Bank,

  FSB's ("Eastern") Motion for Entry of Default Judgment Against Third-Party

  Defendants William J. Vroom, Alii Financial Corporation, Priority One Debt

  Relief Services, LLC, and Janice M.K. Ganitano, filed herein on January 30, 2014,

  the “Findings and Recommendation to Grant Defendant and Third Party-

  Defendants William J. Vroom, Alii Financial Corporation, Priority One Debt

  Relief Services, LLC, and Janice M.K. Ganitano” filed on April 7, 2014 and the

  “Order adopting Magistrate Judge's Findings and Recommendation” filed on April

  25, 2014 and good cause appearing therefore, it is hereby Ordered and Adjudged

  that:

          1.    Defendants having failed to answer or otherwise defend the First

  Amended Complaint, have been adjudged to be in default, and Eastern is entitled

  to judgment as a matter of law against Third-Party Defendants William J. Vroom,

  Alii Financial Corporation, Priority One Debt Relief Services, LLC, and Janice

  M.K. Ganitano ("Third-Party Defendants"), jointly and severally.

          2.    Accordingly, Third-Party Defendants shall pay to Plaintiff the amount

  of Five Hundred Eighty-Six Thousand, Eight Hundred Eleven Dollars and Sixty-

  One Cents ($586,811.61), plus interest after January 27,2014, accruing at a rate of

  One Hundred Ninety Dollars and Seventy-Two Cents ($190.72) per day until

  judgment.

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        3.    Third-Party Defendants shall further pay Eastern's attorneys' fees and

  costs of suit in the amount of One Hundred Seventy-One Thousand One Hundred

  Twenty-Nine Dollars and Thirteen Cents ($171,129.13).



              DATED: Honolulu, Hawaii, April 25, 2014.

                                           SUE BEITIA
                                       Clerk

                                          /s/ Sue Beitia by ES
                                       (By) Deputy Clerk




  _________________________________________________________________
  WENDELL TATSUMI KOGA, individually, as attorney in fact for Ichiyo Eko
  Koga, and as trustee of the William Tsugio Koga and Ichiyo Eko Koga Revocable
  Living Trust, dated February 4, 1991 v. EASTERN SAVINGS BANK, FSB, et al,
  CV11-00123 DKW/BMK; DEFAULT JUDGMENT AS TO THIRD-PARTY
  DEFENDANTS WILLIAM J. VROOM, ALII FINANCIAL CORPORATION,
  PRIORITY ONE DEBT RELIEF SERVICES, LLC, AND JANICE M.K.
  GANITANO

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